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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


         TRICIA CAMPO, individually and on
         behalf of all others similarly situated,

                             Plaintiff,                   Civil Case No. 1:20-cv-00925-AJT-IDD

                             v.

         THS GROUP, LLC, d/b/a TOTAL
         HOME PROTECTION,

                            Defendant.


          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
   MOTION TO DISMISS PURSUANT TO 12(B)(1) AND 12(B)(6) AND MOTION TO
    STAY PENDING THE SUPREME COURT’S FORTHCOMING DECISION IN
                 FACEBOOK, INC. V. DUGUID, NO. 19-511.

        This entire case is based on demonstrably incorrect information and relies on a law that

may well be considered unconstitutional. The claims are solely based on the Telephone

Consumer Protection Act (“TCPA”), 47 USC § 227, et seq. The U.S. Supreme Court will be

considering the constitutionality of this statute, as applicable to the issues in Plaintiff’s Verified

Complaint, on December 8, 2020 in the matter of Facebook, Inc. v. Duguid. If the Supreme

Court rules along with the growing line of case law holding the entire TCPA unconstitutional,

then it is very likely that this entire case is moot. Additionally, as described below, Plaintiff has

no factual basis for her claim. As a result, this case should be dismissed with prejudice, or at a

minimum, stayed until the Supreme Court rules on the TCPA in the Facebook matter. Plaintiff’s

counsel is also pursuing this action in bad faith, contrary to specific contractual promises they

made, and their actions should not be rewarded by this Court.
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                                            ARGUMENT

    A. Standard of Review

        On a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), plaintiffs bear the

burden of establishing jurisdiction and therefore must clearly and specifically allege facts

sufficient to show Article III jurisdiction. See Richmond, Fredericksburg & Potomac R. Co. v.

United States, 945 F.2d 765, 768-69 (4th Cir. 1991). Facts necessary to create jurisdiction, if not

specifically included in the complaint, cannot be assumed. Id. “A federal court is powerless to

create its own jurisdiction by embellishing otherwise deficient allegations…” Whitmore v.

Arkansas, 495 U.S. 149, 155-56 (1990).

        In considering a motion to dismiss for failure to state a claim under Federal Rule of Civil

Procedure 12(b)(6), “a court must construe the complaint in the light most favorable to the

plaintiffs, read the complaint as a whole, and take the facts asserted therein as true.” In re

MicroStrategy, Inc. Sec. Litig., 115 F. Supp. 2d 620, 627 (E.D. Va. 2000). However, the court

need not accept as true “legal conclusions drawn from the facts,…unwarranted inferences,

unreasonable conclusions, or arguments.” E. Shore Markets, Inc. v. J.D. Assoc. Ltd., 213 F.3d

175, 180 (4th Cir. 2000). In this case, none of the factors are met.

        A complaint need only contain “a short and plain statement of the claim,” Fed. R. Civ. P.

8(a)(2), and detailed factual allegations are not required, Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 555, 127 S.Ct. 1955, 1964, 167 L.Ed.2d. 929 (2007). A complaint must plead “enough

facts to state a claim to relief that is plausible on its face.” Id. at 570, 127 S.Ct. 1955 at 1974.

“The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678,

129 S.Ct. 1937, 1949 (2009) (quoting Twombly, 550 U.S. at 556, 127 S.Ct. at 1965.) “[L]abels



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and conclusions” are not enough and a court “is not bound to accept as true a legal conclusion

couched as a factual allegation.” Twombly, 550 U.S. at 555, 127 S.Ct. at 1965 (internal

quotation omitted).

   B. Material Facts

       In this particular case, Defendant opted in to receiving messages on May 9, 2020. (See

Exhibit A). This alone shows there were no improper messages in this matter, and the case

should be dismissed. However, Plaintiff’s counsel actually entered into a Confidential Settlement

Agreement and Release in an unrelated matter on July 2, 2020 with Defendant, to not pursue

exactly that this type of action. Paragraph 8 specifically states:

               “Plaintiff’s Counsel represents that as of the date of execution of
               this Agreement for the purpose of making the representations set
               forth in this paragraph, they have not been retained by, and have no
               knowledge of, any individuals or entities, other than Plaintiff, that
               have or may have any potential claims, grievances, or causes of
               actions against Defendant similar to those asserted in the Action or
               that have sought to or considered retaining Plaintiff’s Counsel.
               Plaintiff’s Counsel further represent that they will not solicit such
               persons or refer such persons to other counsel for the purpose of
               bringing such claims; provided, however, that nothing in this
               paragraph shall be construed as a restriction of Plaintiff’’
               Counsel’s right to practice in contravention of any Rule of
               Professional Conduct.”

       While Plaintiff’s counsel could certainly continue to operate, as the agreement states, it

seems beyond dubious, and frankly down right bad faith, that this action was filed less than two

months after that agreement was entered to, with the same Defendant, based on calls that that

occurred prior to the agreement being signed. As such, this appears to be bad faith on the part of

Plaintiff’s counsel, who it appears clearly intended on pursuing this frivolous matter at the time

that agreement was entered into.




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    C. Legal Argument

            1. Dismissal with Prejudice is Appropriate

        This case should either be dismissed with prejudice, based on the aforementioned facts,

or stayed, pending the outcome of Facebook, Inc. v. Duguid, No. 19-511, currently set to be

heard in the U.S. Supreme Court on December 8, 2020.

        From the outset, this court lacks subject matter jurisdiction. Sinochem Int’l Co. v. Malay.

Int’l Shipping Corp., 549 U.S. 422, 436 (2007) (“If . . . a court can readily determine that it lacks

jurisdiction over the cause or the defendant, the proper course [is] to dismiss on that ground.”).

Rule 12(b)(6) of the Federal Rules of Civil Procedure allows a party to move for dismissal of a

complaint that fails to state a claim upon which relief can be granted. “To survive a motion to

dismiss” under Rule 12(b)(6), “a complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To demonstrate a facially

plausible basis for relief, a plaintiff must plead facts which allow “the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. Applying these

standards to the currently pending claims, it is clear that the case should be dismissed as the

TCPA should be considered unconstitutional in regards to these claims. See, e.g., Creasy v.

Charter Comm., Inc., Case No. 2:20-cv-01199 (E.D. La. September 28, 2020) (slip op. attached

hereto as Exhibit B).

        In 2015, Congress amended the TCPA’s general robocall restriction to permit robocalls

made to collect debts owed to or guaranteed by the federal government. That “government-debt

exception” was short-lived. On July 6, 2020, the Supreme Court struck it down as an

unconstitutional content-based restriction on speech and severed it from the rest of the statute.



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See Barr v. Am. Ass’n of Political Consultants (AAPC), 140 S. Ct. 2335 (2020). Because of the

ruling in that case, and that the Supreme Court did not reach a clear majority, further clarification

is necessary, however it appears that the entirety of § 227(b)(1)(A)(iii) was unconstitutional from

the moment Congress enacted the offending government-debt exception to the moment the Court

severed that exception to preserve the rest of the law in AAPC. Therefore, alleged violations of

an unconstitutional law are not enforceable in federal court. The entire reasoning is broken down

quite clearly by Judge Heldman in the Creasy case and that same logic should be applied in this

case. (Creasy is attached as Exhibit B). Even if plaintiff had a valid claim, which she does not, it

is based on an unconstitutional statute, and as such, the complaint must be dismissed for lack of

subject matter jurisdiction.

       Additionally, even if the case were not barred because the law being relied on is

unconstitutional, Plaintiff has no valid claims. The Plaintiff opted in to receive messages on

May 9, 2020. See Ex. A. At no time, did Plaintiff opt out, nor is there an allegation in the

Verified Complaint that Plaintiff did so. As a result, Plaintiff has no valid claims in this matter

and this case must be dismissed. In this case, even if all facts are accepted to be accurate, this is

no case that can be pursued here as there are no damages caused by the alleged parties that

Plaintiff is attempting to sue. Instead, this is merely an attempt by plaintiff to extract monies

from an innocent party that Plaintiff’s attorneys should have known should not be pursued.

There was no actual injury, as Plaintiff brought on the messages herself and opted in to them.

There is no causal connection between any perceived injury and the actions of the Defendants as

alleged in Plaintiff’s Verified Complaint and there is no likelihood that the injury is redressable.

As such, the case must be dismissed on these grounds.




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           2. Alternatively, This Action Should be Stayed Pending the Decision in Facebook,
              Inc. v. Duguid

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants. How this can best be done calls for the exercise of judgment, which

must weigh competing interests and maintain an even balance.” Landis v. N. Am. Co., 299 U.S.

248, 254–55 (1936). “The proponent of a stay bears the burden of establishing its need.” Clinton

v. Jones, 520 U.S. 681, 708 (1997). The circumstances here firmly favor a stay for several related

reasons. All stem from the fact that a decision in Facebook promises to significantly hone the

issues in this case. In Facebook, the Court will resolve a circuit split concerning the scope of the

TCPA’s definition of an “automatic telephone dialing system” (ATDS). Compare, e.g., Duguid

v. Facebook, Inc., 926 F.3d 1146 (9th Cir. 2019), with Dominguez ex rel. Himself v. Yahoo, Inc.,

894 F.3d 116 (3d Cir. 2018). In particular, the Court will determine “[w]hether the definition of

ATDS in the TCPA encompasses any device that can ‘store’ and ‘automatically dial’ telephone

numbers, even if the device does not ‘us[e] a random or sequential number generator.”

Facebook, Inc. v. Duguid, No. 19-511 (U.S. July 9, 2020). The answer to that question has

immediate bearing on the scope of Plaintiff’s action, especially as purported to be a class action.

If this Court determines a dismissal is not warranted, a stay is requested.

                                         CONCLUSION

       For these reasons, this Court should dismiss the complaint with prejudice or stayed.




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Dated: November 9, 2020


                                   Respectfully submitted,

                                             /s/ Jay McDannell
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                                   CERTIFICATE OF SERVICE

       I certify that today, November 9, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will automatically send a notification of such

filing (NEF) to the following:

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                                                        /s/    Jay McDannell




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


        TRICIA CAMPO, individually and on
        behalf of all others similarly situated,

                           Plaintiff,                Civil Case No. 1:20-cv-00925-AJT-IDD

                           v.

        THS GROUP, LLC, d/b/a TOTAL
        HOME PROTECTION,

                          Defendant.


                                     ORDER GRANTING
                                    MOTION TO DISMISS

       THIS MATTER having come before this Court on Defendant’s Motion to Dismiss and

Motion to Stay, and for good cause shown;

       1. That Defendants motion is hereby granted; and

       2. That the case is here by DISMISSED WITH PREJUDICE.



       IT IS SO ORDERED ON THIS _____________ day of _______________, 2020;




                                ________________________________________________
                                JUDGE
